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                         IN THE UNITED STATES DISTRICT COURT

                               IN THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                      )
                                               )
                VS                             )
                                               )
Mark Bernal                                    )       RECEIPT AND ACKNOWLEDGMENT
                                               )       Docket# 8:22CR222-001
                                               )
                                               )
                                               )


I, the undersigned defendant, hereby acknowledge:

1)      that I understand that by judgment entered in the above captioned case I have been placed
        on supervision for a period of two (2) years commencing April 1, 2024.

2)      that I have been provided with a written statement that sets forth all the conditions to
        which the term of my supervision is subject (i.e. , a copy of the judgment of the Court
        setting forth all of those conditions) and that I have found that statement to be sufficiently
        clear and specific to serve as a guide for my conduct and supervision as is required;

3)      that the Standard Conditions and additional conditions of my supervision have been read
        to me and I fully understand them; and

4)      I understand that upon a finding of a violation of my supervision that the Court may (a)
        revoke supervision and impose a term of imprisonment upon me (b) extend the term of
        supervision and/or modify the conditions of supervision.

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 onathan P. Lordi no
U.S. Probation & Pretrial Services Officer
                                                                    ~

Designated Witness



Rev:3/98
